 

UNITED STATES DISTRICT COURT FILED
EASTERN DISTRICT OF NORTH CAROLINA

 

 

 

SOUTHERN DIVISION APR 4 2005
NO. 7:04-CR-85-1F
|__ 9 RTSE
Kf

UNITED STATES OF AMERICA

Vv. NOTICE OF APPEAL

GARY EDWARD NIXON

Pursuant to Rule 4(b) of the Federal Rules of
Appellate Procedure, NOTICE IS HEREBY GIVEN that the
Defendant, Gary Edward Nixon, hereby appeals to the United
States Court of Appeals for the Fourth Circuit from the
judgment entered in this Court in the above-captioned case.
As judgment was entered by the Honorable James C. Fox on
March 28, 2005, this notice is therefore filed within the

time specification established in Rule 4(b).

‘
Respectfully submitted this the Aa day of Geo 1

Sue Genrich Berry WN
Attorney for Gary Edward Ni

Bowen, Berry and Powers, PLLC

PO Box 2693, Wilmington, NC 28402
910.763.3770

N.C. State Bar Number 16308

2005.

Case 7:04-cr-00085-FL Document 123 Filed 04/04/05 Page 1 of 2

[A2
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing was
served to Assistant United States Attorney Michael James by
depositing a copy of same in the United States Mail,
postage prepaid, addressed as follows:

Michael James

Assistant United States Attorney
310 New Bern Avenue, Suite 800
Raleigh, NC 27601-1461

This the AWM aay of ( tips | , 2005.

Sue Genrich Berry SS
Attorney for Gary Edward Nix

Bowen, Berry and Powers, PLLC

PO Box 2693, Wilmington, NC 28402
910.763.3770

N.C. State Bar Number 16308

Case 7:04-cr-00085-FL Document 123 Filed 04/04/05 Page 2 of 2
